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UN|TED STATES DISTR|CT COURT
WESTERN D|STR|CT OF NEW YORK

 

PHYLL|S HAR|V|ON, DEFENDANTS’
4 Plaintiff, MEMORANDUM OF LAW
Civil Action No. 14-cv-6562

_VS_

C|TY OF ROCHESTER, ROCHESTER POL|CE
DEPARTMENT, OFF|CER BR|AN lVlARONE,
OFF|CER RE|DY,

Defendants

 

PREL|M|NARY STATEMENT

This l\/lemorandum of Law is submitted in opposition to the Plaintiff, Phyllis
Harmon’s motion to reopen discovery and to compel the Defendants, Officers Marone
and Reidy, to respond to her late Discovery Demands and to illustrate that she has
submitted no legally sufficient basis for same.

7 STATEMENT OF FACTS

On September 25, 2014, Ms. Harmon commenced this suit seeking monetary
recovery for physical injuries she claims she sustained during an arrest by Officers
l\/larone and Reidy at her horne on the morning of Sunday, July 14, 2013. She also
named the City of Rochester and the Rochester Police Department as Defendants. At
the same time she commenced this action, she made a motion for leave to proceed in
forma pauperis This Court (Hon. Richard J. Arcara, USDCJ) required that she submit
an Amended Complaint Which more clearly set forth her claims and causes of action, to
enable him to make a reasoned decision on her motion. She filed and served an
Amended Complaint on December 30, 2014, her motion Was granted, the Defendants

were thereafter served, and they timely filed and served their Answer, on March 23,

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2015.

The Case was assigned to Judge Larimer, who in turn assigned non-dispositive
matters, including discovery, to Magistrate Payson. A preliminary Schedu|ing
Conference was convened on l\/lay 28, 2015, at which a Schedu|ing Order was crafted.
lt included a Rule 26, Preliminary Disclosure deadline, as well as an overall discovery
deadline and a deadline for motions to compel.

Later in 2015, Defendants’ counsel requested an extension of the deadlines
contained in the Schedu|ing Order. That was granted at a Status Conference held on
November 10, 2015. The Amended Order included an extended discovery deadline of
February 29, 2016 and a deadline for motions to compel of January 31, 2016. Prior to
that conference, the Defendants served their Rule 26 Mandatory Disclosure, with
attachments Ms. Harmon was pro se at the time of both conferences, attended both,
participated in them, and clearly understood what was being ordered, why and by when.

Ms. Harmon failed to provide her mandatory Rule 26` Disclosure From time to
time, she appeared in the City’s Law Departmentl brought some documents, which
were subject to the Mandatory Disclosure requirement and showed them to counsel, but
refused to permit him to retain them or to make copies. The Defendants did not serve
formal Discovery Demands, as that seemed futile, given Ms. Harmon’s behavior and the
resistance encountered in attempting to obtain copies of what she brought with her.
That was a strategic decision on her part.

The Defendants requested an extension of the dispositive motion deadline in the
Amended Schedu|ing Order, which was granted. They filed and served their motion

prior to same and in its Decision and Order, dated March 29, 2017, this Court (Judge

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Larimer) granted summaryjudgment to the City and RPD, dismissing all claims and
causes of action as against them, and granted partial summaryjudgment to Officers
Marone and Reidy, dismissing all claims and causes of action as against them, except
for the claim that they used excessive force in arresting Ms. Harmon and that each
failed to intervene. The only other requests made to this Court prior to issuance of the
Decision and Order were Ms. Harmon’s requests to extend the deadline for her
submission of opposing papers. No requests to extend either the discovery deadline, or
the deadline for motions to compel, were requested

ln opposition to the Defendants’ motion, Ms. Harmon attached to her papers
some excerpts of medical records of health care providers she had seen, which were
incomplete and which were not previously provided. These were of the type she was
obligated to produce, pursuant to Rule 26. On May 31, 2017, two months after
summaryjudgment was granted to the City and RPD and partial summaryjudgment
was granted to the Officers, Ms. Harmon, who had been pro se from the beginning of
this suit, submitted a letter Demand/l\/lotion to Judge Larim»er seeking various items of
discovery. She also moved for appointment of counsel. No explanation orjustification
was provided for the timing of her Demand/l\/lotion, which was served 15 months after
the extended discovery deadline. Further, though she was pro se, she was able to
frame Demands, citing the various Discovery Provisions of the FRCP. She clearly knew
what she was targeting and it is clear that she knew or should have known this prior to
the close of discovery. Yet, she waited, without explanation or justification Also, she
did not move then to extend the deadline for discovery or for motions to compel.

The Officers’ counsel objected to the Demands, based upon untimeliness, as

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well as to their confusing nature and to their being overly burdensome. He also
objected to the motion for assignment of counsel, specifically objecting to that providing
a basis for reopening discovery,

After some fits and starts, l\/ls. Harmon finally submitted enough information upon
which Judge Larimer could base a decision on her motion for assignment of-counsel
and he determined to grant it. Assigned counsel appeared in late September, 2017.
They moved to withdraw, however, approximately two months later, apparently citing a
fundamental disagreement with l\/ls. Harmon regarding the strength and value of her
remaining claims. They moved to withdraw on November 30, 2017. On the day before
they moved, Ms. Harmon submitted another letter/motion to compel. She therein
requested that the demands contained in her letter of May 31, 2017 be enforced and
she moved to reopen discovery and to extend the deadline to permit same That motion
was served 21 months after the extended discovery deadline passed and 22 months
after the extended deadline for motions to compel expired. She again offered no
explanation or legally sufficient justification and, as before, she failed to indicate that
she had consulted in good faith with the Officers’ counsel to try to resolve the issues
without Court intervention.

Owing to accusations made against the Officers’ original counsel and to the
falling-out with her assigned attorneys, the trial of this matter, which would have
occurred in late 2017 or early 2018, did not occur. She eventually obtained new
counsel, the first of whom, Michael Joseph Witmer, appeared on April 11, 2018l in
anticipation of a Status Conference scheduled for April 18. The second, Elliot Dolby-

Shields, appeared on June 18, 2018, the day before the deadline for submission of the

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instant motion to compel. ln the Status Conference of June 5', 2018, at which that
motion was discussed, this Court (l\/lagistrate Payson) was clear in her directive that
because the previous letter Demands/Motions appeared to include extraneous matter
not bearing directly on discovery and which appeared more related to triall counsel was
to clearly delineate and segregate what issues were properly the subject of the motion
and what were not. The subject motion papers fail to do that. Further, they include
factual misstatements and citations to case law which has no applicability to the motion,
and no explanation or justification is offered for the protracted delay in moving to
compel. As is more fully set forth below, for those reasons, the motion must be denied.
ARGUMENT
MS. HARMON HAS FA|LED TO PROV|DE
ANY LEGALLY SUFF|C|ENT EXPLANAT|ON
OR JUST|F|CAT|ON FOR TH|S COURT TO
GRANT HER MOT|ON TO REOPEN
DlSCOVERY AND TO COMPEL THE

REMA|N|NG DEFENDANTS TO

RESPOND TO HER GREATLY

BELATED DEMANDS, SO THE

MOT|ON SHOULD BE DEN|ED.

lt is clear from Nlr. Shields’ Declaration and his l\/lemorandum of Law that

Magistrate Payson’s directives to l\/lr. Witmer at the June 5, 2018 conference were not
communicated to him and that the content of both is based upon no more than phone
conversations with Ms. Harmon, with the Defendant Officers’ current attorney, perhaps
with lVlr. Witmer, and upon documents he supplied to l\/lr. Shields, whatever they may
be_they are not identified He clearly misstates the applicable law and facts.

None of the Demands Ms. Harmon and, now, lVlr. Shields seek to enforce were

timely-served within the extended discovery deadline The May 31 , 2017 letter was 15

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months late, the November 29, 2017 letter was 22 months late, and the five additional
pages of demands Mr. Witmer included in his June 3, 2018 letter were 27 months late
Each was objected to on that basis shortly after each was served. l\/lr. Shields need not
have surmised what the Defendants’ position would be, it is stated in their counsel’s
letter of June 5, 2018_-they object to each as untimely.

Contrary to Mr. Shields’ contention, the Defendants are not arguing that their
Rule 26 disclosure obligations and Ms. Harmon’s were reciprocal, or that any discovery
obligations were Mr. Shields at first appears to argue that the Defendants did not serve

.mandatory Rule 26 disclosure but then appears to concede that they did in footnote 3
to his Declaration, though he claims, without explanation, that that disclosure was
somehow “insufficient.” The Rule 26 Disclosure obligations are not dependent upon
demands made by the parties to a civil law suit. Rather, they are imposed by Rule 26
as a threshold matter. The Defendants provided theirs by the deadline imposed in the
original Schedu|ing Order, but Ms. Harmon has not provided hers.

Further, the Defendants did not serve discovery demands on Ms. Harmon
because of the great difficulty that their attorney encountered when attempting to obtain
any of the documents, records, or other material, Ms. Harmon brought to him, but would
not let him keep or copy, and which she was obligated to provide by Rule 26. Serving
demands thus appeared futile The Defendants were thus not waiting for her to respond
to any such demands before responding to hers. Plainly and simply, none of her
demands were timely-served and there was thus no obligation to respond.

As the result of a 1993 amendment to FRCP 37(c)(1), failure to provide the

disclosure required by Rule 26(a) and (e)(1), results in the self-executing sanction of

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preclusion:

“Rule 37(c)(1) of the Federal Rules of Civil Procedure
provides that (1) a party that without substantial
justification fails to disclose information required by
Rule 26(a) or 26(e)(1) shall not, unless such failure is
harmless, be permitted to use as evidence at trial, at
a hearing, or on a motion, any witness or information
not so disclosed As the Advisory Committee’s
note explains, this rule provides a self-executing
sanction for failure to make a disclosure required by
Rule 26(a), without the need for a motion []”.

“Despite this rule’s seemingly harsh mandate courts
have held that imposition of sanctions under Rule 37
is a drastic remedy and should only be applied in
those rare cases where a party’s conduct represents
flagrant bad faith and callous disregard of the Federal
Ru|es of Civil Procedure Such decisions conform
to the Advisory Committee’s note which explains that
limiting the automatic sanction to violations without
substantial justification, coupled with the exception for
violations that are harmless, is needed to avoid
unduly harsh penalties in a variety of situations” (New
York v Almy Brothers, 1998 U.S. Dist LEXlS 1280 at
*25-26 [N.D.N.Y. 1998], citations and internal
quotations omitted, but citing Hinton v Patnaud, 162
F.R.D. 435, 439 [N.D.N.Y. 1995], Sterling v interlake
lndustries, lnc., 154 F.R.D. 579 [E.D.N.Y. 1994], and
Burks v Eagan Real Estate, lnc. 742 F. Supp. 49
[N.D.N.Y. 1990]). (See also, l\/lcNerney v Archer
Daniels Midland Co., 164 F.R.D. 584, 586-587
[VV.D.N.Y. 1995]).

Ms. Harmon makes the bald, unsubstantiated hearsay claim, through Mr.
Shields, that she complied with Rule 26. She did not. She has never disclosed her
potential trial witnessesl or specifically identified the health care providers who treated
her for her alleged injuries, nor has she provided the other information, documents, or
records mandated by Rule 26. Her l\/lediation Statementl to which Mr. Shields makes

reference and adopts as her Rule 26 Disclosure (at paragraph 3 of the Argument

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portion of his Memorandum_Dkt #59-3, p. 2 of 6), cannot satisfy those requirements,
as it contains none of the mandated information. Nor could she meet her obligation by
attaching medical records and other such information to her papers opposing the
Defendants’ summaryjudgment motion. Simply put, if her failure to provide such
disclosure prior to a motion precludes her from using any such evidence or witnesses
on a motion, it follows logically that she could not meet her Disclosure requirement by
attaching material to motion or opposing papers.

Further, she offers no justification at all, much less any substantial justification,
for failure to comply with Rule 26. The Defendants’ submissions in opposition to the
pending motion, most significantly lVlr. Ash’s Declarationl establish that her failure to
meet her obligations was calculated and represented flagrant bad faith and callous
disregard of the FRCP. Mr. Shield’s Declaration and Memorandum establish that this
was not “harmless.”

As he avers, in his estimation, the Defendants are in no position to be able to try
this case because of the lack of information supplied to them. Apparent|yl the pending
motion seeks, in part, some relief for the Defendants so that they will be properly
supplied with information. lt is not his province to make such a request, nor is it _
necessary, given the aforecited law, which results in the self-executing sanction of
preclusion, given Ms. Harmon’s recalcitrance

Beyond this, lVls. Harmon and Mr. Shields have failed to afford this Court with
any proper basis for granting the motion to reopen discovery and to compel. lt is
undisputed that Mr. Harmon served no Demands prior to the expiration of the discovery

deadline All are a year to two years late and are only the result of the Defendants, City

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and RPD, being dismissed from this case and the claims against the Officers being
pared down to excessive use of force and failure to intervene lt is further indisputable
that Ms. Harmon did not move to extend the deadline for motions to compel, or even
make a motion to compel, until nearly two years after the extended deadlines contained
in the Amended Schedu|ing Order expired She offered no explanation whatsoever for
her delays then and offers none now.

This Court has repeatedly denied motions to compel under these circumstances
(Costa v Sears Home improvement Prods., 65 F. Supp.3d 333, 357-358 [W.D.N.Y.
2014] (J. Wolford)_“Plaintiff did not request an extension of the discovery deadlines
and did not file the instant motion to compel until [after the deadline passed]. Plaintiff
should have timely requested an extension of the discovery deadline to hash out these
arguments concerning the production of these documents well in advance of the
deadline to file a motion to compel discovery. Because Plaintiff’s motion to compel is
untimely, Plaintiff’s motion to compel is denied"_emphasis supplied, citing Owen v No
Parking Today, lnc. 280 F.R.D. 106, 113 [S.D.N.Y. 2011])§ Funderburke v Canfield,
2014 U.S. Dist. LEX|S 158061, at *1-3 [VV.D.N.Y. 2014] (Magistrate Payson)-Plaintiff’s
motion to compel was denied as procedurally defective because it was untimely, without
explanation and without seeking permission to extend deadline, and because Plaintiff
failed to demonstrate that he conferred in good faith with defense counsel to resolve
issues; De l\/lagalhaes v Rochester lnst. of Tech., 2017 U.S. Dist. LEXlS 190979, at *2-
5 [W.D.N.Y. 2017] (Magistrate Feldman); and Brozyna v Niagara Gorge Jetboating,
Ltd, 2011 U.S. Dist. LEX|S 33645, at *4-5 [W.D.N.Y. 2011] (Magistrate McCarthy).

(And see, Slomiak v Bear Stearns & Co., 1985 U.S. Dist. LEX|S 21860, at *1-2

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[VV.D.N.Y. 1985]).

Further, where a party offers no excuse for making a late motion to compel, her
prior knowledge of what information to seek is an additional basis for denying her
motion (Brozyna, supra, at *4-5, Slomiak, Supra, at *1, and Four M. Corp. v Guiiano,
1991 U.S. Dist. LEXlS 3656, at *1-2 [S.D.N.Y. 1991]). Again, on May 31, 2017, while
she was pro se, Ms. Harmon was able to formulate Demands, including citations to the
various Discovery Rules in the FRCP. She clearly had some sense of what discovery
she thought she might need prior to that date, and apparently was so aware from the
inception of this suit. Her unexplained delay and her failure to address this is fatal to
her motion.

None of the cases cited in her Memorandum are apposite to this case and the
arguments on which they are based are thus meritless. The claim that the remaining
Defendants waived all objections to Ms. Harmon’s Demands ignores the fact that none
of them were timely served lf, according to the aforecited precedent, the Defendants
could not be compelled to answer them because they were untimely, then the notion
that they waived any objections is absurd The cases cited as support for the
proposition that objections were waived (on the second and third pages of Ms.
Harmon’s Memorandum_Dkt #59-3, pp. 3 and 4 of 6), concern timely-served Demands
and motions to compel Responses. Not a single case indicates that any of the
Demands were served beyond the discovery deadline (Davis v Fendler, 650 F.2d 1154,
1160 [9th Cir. 1981], Peat Man/vickl lVlitchell & Co. v West, 748 F.2d 540 [10th Cir.
1984], Davis v Romey, 53 F.R.D. 247 [E.D.Pa. 1971], Dew v 39th Street Realty, 2001

U.S. Dist. LEXlS 4631 [S.D.N.Y. 2001], Burda l\/|edia, |nC. v B|umenberg, 1999 U.S.

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Dist. LEXlS 9240 [S.D.N.Y. 1999] and Smith v Conway Organization, lnc., 154 F.R.D.
73 [S.D.N.Y. 1994]). Mohasco Corp. v Silver, 447 U.S. 807 [1980], cited on page 2 of
the Memorandum, does not even concern discovery. lt concerns the late filing of an
EEOC document by a discharged employee beyond the deadline The quote attributed
to the Supreme Court about what “experience teaches,” has no applicability to the
pending motion.

The allegation on page 4 of the Memorandum concerning the breadth of
discovery under Rule 26(d)(1) regarding all non-privileged material, and the cite to
Mailinckrodt Chemical Works v Goldman, Sachs & Co., 58 F.R.D. 348 [1973], as well as
to the cite to Burda Media, lnc. (supra), are amiss and also inapplicable Their holdings
were abrogated by a 2001 change to FRCP 26, as is noted in Johnson v l\/latthey, lnc. v
Research Corp., 2002 U.S. Dist. LEXlS 18802, at *6-7 [S.D.N.Y. 2002]). Rivera v
Fisher, 2013 U.S. Dist. LEXlS 109732 [VV.D.N.Y. 2013], cited at paragraph 4 of then
Memorandum, is also inapposite as that case concerns a Rule 41(b) motion to dismiss
for failure to prosecute not a discovery motion.

The allegation that concludes the Memorandum (at page 4) and the citation to
Copeland v Rosenl 38 F. Supp.2d 298 [S.D.N.Y. 1999] is also impertinent. That case
concerned a pro bono attorney who began representing a pro se plaintiff following
commencement of suit and a duty to review the original complaint to cure deficiencies
or to elaborate on allegations where appropriate which is accomplished by formal
amendment. As the Court noted:

“The pro se complaint does not give counsel carte
blanche to attempt informally to imply new causes of

action or additional allegations regarding existing
claims, nor does it provide a meritorious excuse for

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excessive delays in making formal revisions (ld. at
303). '

l\/lessrs Shields and Witmer stepped into this case three years after it was
commenced and they followed assigned counsel, who found it necessary to move to
withdraw, based on differences with Ms. Harmon. Their representation began more
than a year after the grant of partial summary judgment, which eliminated all causes of
action except for excessive use of force and failure to intervene and narrowed the
Defendants to the two Officers l\/lessers. Shields and Witmer have not and could not
seek to amend the Complaint. Even the implicit claim that the Copeland case obligates,
or even permits, new counsel an opportunity to reopen discovery, notwithstanding his
client’s actions in frustrating it and without explanation orjustification, is wrong.

ln sum, Ms. Harmon’s current motion is untimely, as was her November 29, 2017
letter/motion and no legally sufficient justification or explanation has been offered The
Defendants did not ignore any timely served Demands The Demands served between
a year and two years after discovery closed were a nullity and there was no obligation to
respond So, no objections were waived The content of the pending motion papers is
inaccurate and disingenuous lt is thus respectfully submitted that this Court should and
must deny the motion in all respects

CONCLUS|ON

For the foregoing reasons, it is respectfully submitted that this Court should deny

in all respects Ms. Harmon’s motion to reopen discovery and to compel the remaining

Defendants to respond to her greatly belated demands

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DATED: July 10, 2018
Rochester, New York Respectfully submitted,

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